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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:16-cv-01126-RBJ

WELLONS GROUP, INC., a Washington corporation,

                       Plaintiff,

v.

DEAN L. ROSTROM, individually;
KENDRIC B. WAIT, individually;

                       Defendants.

                                    NOTICE OF RELATED CASE


        PURSUANT TO D.C.COLO.LCivR 3.2, plaintiff gives notice of the following related

case:

        Wellons, Inc. v. Eagle Valley Clean Energy, LLC, et al., United States District Court for

the District of Colorado Civil Action No. 1:15-cv-01252, consolidated with Civil Action

No. 1:15-cv-02055. Plaintiff in this case, Wellons Group, Inc., is the parent company of the

plaintiff, Wellons, Inc., in the related case. The related case remains pending.

        DATED this 17th day of May, 2016.

                                              s/ Stephen G. Leatham
                                              Stephen G. Leatham
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                                              HOLTMANN & STOKER, P.S.
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